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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

vs.

THEOPOLIS T. CROWDER,
(No. 06515-025),

Defendant.                                             No. 03-CR-30214-DRH-3

                                     ORDER

Herndon, District Judge:

             On June 2, 2004, the Court sentenced Defendant Theopolis T. Crowder

to 198 months imprisonment, consisting of a term of 138 months imprisonment on

Count 1, Conspiracy to Distribute and Possess with Intent to Distribute 50 Grams

or More of Cocaine Base, and a consecutive term of 60 months imprisonment on

Count 4, Possession of a Firearm During and in Relation to a Drug Trafficking

Offense. During sentencing, Defendant was represented by court-appointed counsel,

Mr. John D. Stobbs, II, pursuant to 18 U.S.C. § 3006A(b). Pursuant to FEDERAL

RULE OF CRIMINAL PROCEDURE 35, the Government now moves the Court to reduce

Defendant’s sentence because of his substantial assistance in the prosecution of

additional criminal offenses (Doc. 176). Defendant has also moved the Court to

allow prison officials to comment on Defendant’s rehabilitation and education gained

during incarceration and to extend the time to respond to the Government’s motion



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to reduce sentence for 10 days after the receipt of such letters (Doc. 183).

              To ensure adequate representation of criminal defendants, 18 U.S.C.

§ 3006A(c) provides that “[a] person for whom counsel is appointed shall be

represented at every stage of the proceedings from his initial appearance before the

United States magistrate or the court through appeal, including ancillary matters

appropriate to the proceedings.” Accordingly, the Court RE-APPOINTS Mr. John

D. Stobbs, II, to represent Defendant for the purposes of responding to the

Government’s Rule 35 motion. The Court ALLOWS Defendant up to and including

Friday, June 3, 2005 to respond to the Government’s motion to reduce sentence

filed on May 9, 2005.

              In addition, because the issue before the Court is Defendant’s

substantial assistance, not his rehabilitation or education gained during

incarceration, the Court DENIES Defendant’s Motion to Allow Prison Officials to

Comment on Defendant’s Rehabilitation During His Incarceration and Motion for

Extended Amount of Time to Respond to Government’s Motion to Reduce Sentence

(Doc. 183).

              IT IS SO ORDERED.

              Signed this 17th day of May, 2005.



                                                    /s/ David RHerndon_______
                                                    United States District Judge




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